Case 5:20-cv-01450-PD Document 23 Filed 11/08/21 Page 1 of 1 Page ID #:898



 1
 2
 3
 4
 5
 6
 7
 8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10   RICHARD STEVEN CARDENAS,                )   Case No.: 5:20-cv-01450-PD
                                             )
11                 Plaintiff,                )   ORDER AWARDING EQUAL
                                             )   ACCESS TO JUSTICE ACT
12         vs.                               )   ATTORNEY FEES AND EXPENSES
                                             )   PURSUANT TO 28 U.S.C. § 2412(d)
13   KILOLO KIJAKAZI,                        )
     Acting Commissioner of Social           )
14   Security,                               )
                                             )
15                 Defendant                 )
                                             )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal

18   Access to Justice Act Fees, Costs, and Expenses:

19         IT IS ORDERED that fees and expenses in the amount of $4000 as

20   authorized by 28 U.S.C. § 2412, be awarded subject to the terms of the Stipulation.

21   DATE:       November 08, 2021

22                              ___________________________________
                                THE HONORABLE PATRICIA DONAHUE
23                              UNITED STATES MAGISTRATE JUDGE

24
25
26

                                             -1-
